                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 UNITED STATES OF AMERICA                                                           PLAINTIFF

 V.                                                     CAUSE NO. 3:16-CV-622-CWR-FKB

 STATE OF MISSISSIPPI                                                             DEFENDANT


                                            ORDER

       In accordance with United States v. Mississippi, No. 21-60772, 2023 WL 6138536 (5th

Cir. Sept. 20, 2023), and in anticipation of the Fifth Circuit’s mandate, Court Monitor Dr. Michael

Hogan and his team are directed to conclude their work in this matter within the next 14 days. Dr.

Hogan’s final invoice shall be submitted to the State within seven days of the mandate’s issuance.

       SO ORDERED, this the 22nd day of September, 2023.
                                             s/ Carlton W. Reeves
                                             UNITED STATES DISTRICT JUDGE
